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      SCOTT MCDOWELL on 12/08/2017                                                          ·

· ·   ·   ·   ·   ·   ·   ·   ·   · · · ·CONFIDENTIAL
·1·   ·   ·   ·   ·   ·   ·   ·   UNITED STATES DISTRICT COURT
· ·   ·   ·   ·   ·   ·   ·   ·   ·MIDDLE DISTRICT OF FLORIDA
·2·   ·   ·   ·   ·   ·   ·   ·   · · · · TAMPA DIVISION

·3· ·CASE NO.:· 8:17-cv-01578-JDW-MAP

·4· ·RICHARD COLON, ON BEHALF OF
· · ·HIMSELF AND ALL OTHERS
·5· ·SIMILARLY SITUATED,

·6· · · · · PLAINTIFF,

·7· ·vs.

·8· ·SE INDEPENDENT DELIVERY
· · ·SERVICES, INC., A FLORIDA
·9· ·CORPORATION

10· · · · · DEFENDANT.

11· ·* * * * * * * * * * * * * * * * * * * * * * * * * * * *

12

13· ·DEPOSITION OF:· · · ·SCOTT MCDOWELL

14· ·DATE TAKEN:· · · · · FRIDAY, DECEMBER 8, 2017

15· ·TIME:· · · · · · · · 1:00 - 4:19 O'CLOCK P.M.

16· ·PLACE:· · · · · · · ·101 EAST KENNEDY BOULEVARD
· · · · · · · · · · · · · SUITE 3400
17· · · · · · · · · · · · TAMPA, FLORIDA· 33602

18
· · ·TAKEN BY:· · · · · · SHARON L. TRAMONTE, R.P.R., C.M.
19· · · · · · · · · · · · NOTARY PUBLIC, STATE OF
· · · · · · · · · · · · · FLORIDA AT LARGE
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·1· · · · Q· · -- and move furniture from one truck to

·2· ·another?

·3· · · · A· · Yes.

·4· · · · Q· · And were -- the drivers that were doing the

·5· ·helping, were they getting paid extra to do the helping?

·6· · · · A· · Yes.

·7· · · · Q· · And how much were they getting paid to do the

·8· ·helping?

·9· · · · A· · It varied.

10· · · · Q· · Varied how?· Different range, different

11· ·timeframe?

12· · · · A· · Yeah, different times of the day, how much

13· ·they were taking, how far they had to drive to meet with

14· ·the other driver to pick up the pieces.

15· · · · Q· · And who would come up with the determination

16· ·of how much the helping driver would get paid for doing

17· ·those things?

18· · · · A· · The delivery manager or the ops manager.

19· · · · Q· · So that would either be you or Susan?

20· · · · A· · Yes.

21· · · · Q· · Would you tell the driver before they started

22· ·helping the driver that needed help how much they'd get

23· ·paid for providing the help?

24· · · · A· · Yes.

25· · · · Q· · What if a driver said no, I don't want to
· · · · · · · · · · · · · · · ·.


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·1· ·help, would anything happen to him?

·2· · · · A· · No.· Call another driver.

·3· · · · Q· · And what was the range in terms of how much

·4· ·you would offer to pay the helping driver to help out

·5· ·another driver?

·6· · · · · · ·MR. LEE:· Object to form.

·7· ·BY MR. TURNER:

·8· · · · Q· · In terms of the amount.

·9· · · · A· · 50 bucks, 100 bucks.

10· · · · Q· · Ever more than 100?

11· · · · A· · 150.

12· · · · Q· · Ever more than 150?

13· · · · A· · I don't think so.

14· · · · Q· · And were you paying the driver -- well, let me

15· ·ask you this.· Do you know if that money that was being

16· ·offered to help, was that going on their weekly

17· ·settlement sheets?

18· · · · A· · I do not know.

19· · · · Q· · Do you know what the settlement sheets are?

20· · · · A· · No.

21· · · · Q· · Okay.· Have you ever seen a driver's weekly

22· ·settlement sheet that breaks down how much they were

23· ·paid for the different deliveries?

24· · · · A· · No.

25· · · · Q· · Do you know if drivers were getting paid to
· · · · · · · · · · · · · · · ·.


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·1· ·saying go -- offer them less?

·2· · · · A· · That would be the example, what you just said,

·3· ·that's exactly how it works.

·4· · · · Q· · All right.· I'm just wondering if you recall

·5· ·any specific -- I mean, I know you have a general

·6· ·understanding of that.· Do you recall a specific day, a

·7· ·specific driver, where that happened?

·8· · · · A· · No.

·9· · · · Q· · Okay.· So you get approval from Susan to offer

10· ·the helping driver a certain amount of money, then what

11· ·would you do?

12· · · · A· · I'd call a driver up and ask them if they're

13· ·willing to help me help them.

14· · · · Q· · And how would that conversation go?· Would you

15· ·say if you'll take X amount of stops off of this driver

16· ·we'll pay you a certain amount of money?

17· · · · A· · Yes.

18· · · · Q· · And then would the driver -- would the

19· ·driver's records -- or would the driver fill out a

20· ·special form for that type of special?

21· · · · A· · No.

22· · · · Q· · Okay.· So then you would fill -- would you

23· ·fill one out the same day that you made the offer to the

24· ·driver?

25· · · · A· · Yes.
· · · · · · · · · · · · · · · ·.


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·1· · · · Q· · Did drivers ever complain to you that they

·2· ·weren't getting paid for helping out other drivers?

·3· · · · A· · Yes.

·4· · · · Q· · How often would you get complaints about that?

·5· · · · A· · I don't recall.

·6· · · · Q· · Daily, weekly, monthly?

·7· · · · A· · Quarterly.

·8· · · · Q· · And how would they complain to you?· Would

·9· ·they call you on the phone, e-mail, text?

10· · · · A· · I would ask them if they could help someone

11· ·out, and they told me that the last time they did they

12· ·didn't get paid for it.

13· · · · Q· · How often were you asking drivers to help out

14· ·other drivers, approximately?

15· · · · A· · Maybe once every other week.

16· · · · Q· · And the drivers that were complaining to you

17· ·about not getting paid for the last time they helped out

18· ·a driver, did you ever look into that for them?

19· · · · A· · No.

20· · · · Q· · Do you know if anyone else at SEIDS were

21· ·getting complaints about drivers not getting paid for

22· ·helping out other drivers?

23· · · · A· · Yes.

24· · · · Q· · Who was that?

25· · · · A· · Tony.
· · · · · · · · · · · · · · · ·.


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·1· ·if you know?

·2· · · · A· · I do not know.

·3· · · · Q· · To your knowledge were drivers ever told that

·4· ·they would either get a base percentage of whatever the

·5· ·item was worth, whether they were returning or

·6· ·delivering, or $30, whichever was greater?

·7· · · · A· · I do not know.

·8· · · · Q· · Have you ever heard any driver complain to you

·9· ·about not getting paid under that scenario?

10· · · · A· · Besides Rich, no.

11· · · · Q· · And when did Rich complain to you about that?

12· · · · A· · Oh, I believe that was on exchanges, not

13· ·minimums on returns.

14· · · · Q· · Okay.· What did he complain to you about on

15· ·exchanges?

16· · · · A· · Not getting paid for the exchange.

17· · · · Q· · And how did he say that he wasn't getting paid

18· ·for the exchange?

19· · · · A· · That it paid a flat rate for the exchange.

20· · · · Q· · So he thought it paid a flat rate for the

21· ·exchange?

22· · · · A· · Yes.

23· · · · Q· · And did he tell you what he thought that flat

24· ·rate was supposed to be?

25· · · · A· · Yes.
· · · · · · · · · · · · · · · ·.


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·1· ·Have you ever had a driver come to you and complain that

·2· ·their payment for an exchange got reduced from $30 to

·3· ·nine dollars?

·4· · · · A· · No.

·5· · · · Q· · Did Rich ever complain about that?

·6· · · · A· · Not that I recall.

·7· · · · Q· · Did you ever tell drivers that they would be

·8· ·paid for how they -- paid a bonus for how they were

·9· ·evaluated by customers?

10· · · · A· · I did not.

11· · · · Q· · Do you have any understanding of whether

12· ·drivers were paid a bonus for customer evaluations?

13· · · · A· · I heard of one but I didn't know any drivers

14· ·who got it.

15· · · · Q· · So that's not something you discussed in your

16· ·initial meeting with the drivers after they signed their

17· ·contract with Terry?

18· · · · A· · No.

19· · · · Q· · Did you say you have heard of one, though?

20· · · · A· · I've heard of the whole company gets one.                 I

21· ·didn't see one as a delivery manager so I didn't -- I've

22· ·never heard of drivers saying they got one either but I

23· ·never asked.

24· · · · Q· · Did you ever get a bonus for customer surveys?

25· · · · A· · No.
· · · · · · · · · · · · · · · ·.


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